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                 Exhibit D
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                  UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CORNEL WEST, et al.,

                       Plaintiffs,

              v.                                      No. 24-cv-1349
                                                      Judge Nicholas Ranjan
PENNSYLVANIA DEPARTMENT OF
STATE, et al.,

                       Defendants.


     DECLARATION OF JONATHAN MARKS IN SUPPORT OF
DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION
             FOR A PRELIMINARY INJUNCTION

      I, Jonathan Marks, declare under the penalty of perjury pursuant to 18

Pa.C.S. § 4902 that:

      1.     I am Deputy Secretary for Elections and Commissions for the Depart-

ment of State (the “Department”) of the Commonwealth of Pennsylvania. I have

held this position since February 2019, and served in the Department in other roles

since 2002. Prior to serving as Deputy Secretary, I served as Commissioner for the

Bureau of Commissions, Elections and Legislation, and before that, the Division

Chief for the Statewide Uniform Registry of Electors (SURE). I have worked at the

Department since 1993 and been involved with the Department’s election-related

responsibilities since 2002.
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      2.     As part of my duties, I supervise and manage the implementation and

maintenance of technology related to the SURE System, used by the Department

and the county boards of election to record and track the mail ballot process (en-

compassing mail-in and absentee ballots). The Department also works closely with

the 67 county election boards and other stakeholders to develop and implement

projects and procedures impacting election operations in the Commonwealth.

      3.     I submit this Declaration in support of Defendants’ opposition to

plaintiffs’ request for a preliminary injunction filed in this matter. Given my role

and experience at the Department, I am personally knowledgeable about the mat-

ters referenced in this Declaration and the business records of the Department. I

have also consulted with colleagues about certain matters referenced in this Decla-

ration. If called as a witness, I could and would testify competently to the matters

set forth below.

      4.     As of October 1, 2024, 1,452,640 of Pennsylvania registered voters

have applied for mail ballots.

      5.     Additional applications will be received through the mail ballot appli-

cation deadline on October 29, 2024, causing this figure to grow.

      6.     As of October 1, 2024, the county boards of election have mailed

717,968 mail ballots, which ballots are currently in the mail stream; more of these

are delivered to voters every day.

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       7.    As of October 1, 2024, 22,739 mail ballots have been returned by vot-

ers.

       8.    These figures reflect data logged by the county boards of election in

the SURE system and intelligent mail barcode (IMB) data collected by the United

States Postal Service and mail house vendors, reported to the Department and the

county boards of election.



       I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 1, 2024.



                                       _____________________________
                                       Jonathan Marks




                                             3
